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‘THE UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
D-U-N-S 611974786

UNITED STATES OF AMERICA )
Delaware file# 2193946, D-U-N-S # 052714196)
) Case no. 1:21-cr-0028-19
- )
) Affidavit: Non-Reply
James Delisco Beeks ©
By special invitation & authorized representative
for JAMES BEEKS ©

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Signature i-X 3
Affidavit: Non-Reply te
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FROM:

James-Delisco:Beeks, a man, sui juris, by special appearance. In the care of 8815
Conroy-Windermere Road. #296 Orlando, Florida [32835]

Claimant,
TO:

Robin M. Meriweather as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

Beryl A. Howell as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

Amit P. Mehta as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746

333 Constitution Ave NW [20001]

Jimmy S. Park as the living man and as agent, employee, or contractor of the
corporation THE FEDERAL BUREAU OF INVESTIGATIONS [FBI] (Dun & Bradstreet #
878865674) 601 4" Street NW, Washington, DC 20535

Josh Uller as the living man and as agent, employee, or contractor of the corporation
FEDERAL DEFENDER SEVICES OF WISCONSIN INC. D & B # 031664720, and

‘ UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA CIRCUIT, Dun &
Bradstreet No.611934746, at Federal Defender Services of Wisconsin, Inc. 411 E.
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Wisconsin Ave., Milwaukee, WI 53202, Email address: Joshua Uller
<Joshua_Uller@fd.org>;

Jessica Ettinger as the living woman and as agent, employee, or contractor of the
corporation FEDERAL DEFENDER SEVICES OF WISCONSIN INC.D&B#
031664720, and UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746, at Federal Defender Services of Wisconsin,
Inc. 22 East Mifflin Street, Suite 1000 Madison, WI 53703, Email Address; Jessica
Ettinger <Jessica_Ettinger@fd.org>;

Nicole Cubbage as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA
CIRCUIT, Dun & Bradstreet No.611934746 333 Constitution Ave NW [20001], and The
Law Office of Nicole Cubbage 712 H St. NE, Unit# 570Washington, DC 20002, Email
Address: <cubbagelaw@gmail.com>;

Jeffery Nestler as the living man and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [20530],
Email Address: <Jeffrey.Nestler@usdoj.gov>;

Kathryn Rakoczy as the living woman and as agent, employee, or contractor of the
corporation UNITED STATES DEPARTMENT OF JUSTICE, Dun & Bradstreet No.
072526021 and/or THE U.S. ATTORNEY OFFICE, Dun & Bradstreet No. 048158793,
standing in for THE UNITED STATES OF AMERICA Dun & Bradstreet No. 052714196
and corporate Delaware File # 2193946, 601 D Street NW Washington DC [95076-
5139], Email Address: <Kathryn.Rakoczy@usdoj.gov>;

Respondents.

i, claimant, James-Delisco:Beeks, a man, sent a NOTICE: ABSENCE OF SUBJECT
MATTER JURISDICTION, NOTICE: CONDITION PRECEDENT, ACCEPTANCE OF
OATHS OF OFFICE, NOTICE: DENIAL OF AUTHORITY OF RESPONDENT ULLER,
CUBBAGE, MUSE, HUNTER, AS LEGAL REPRESENTATIVE, REBUTTAL OF
PRESUMPTIONS OF CONSENT TO DE FACTO TRIBUNAL’S PROCESS, NOTICE:
UNANSWERED BILL OF PARTICULARS, NOTICE: POTENTIAL LIABILITY, AND
AFFIRMATION via email communication, registered mail (see exhibits in the attached
Affidavit of Service), and filed on the court record to the above-named respondents and
none have responded within the time frame given and/or in the manner in which it was
to be received.

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. As of the effective date(s) set out in the 02/08/23 Notice, respondent men and
women above named each failed to reply in either a timely manner or as
instructed and are now in default and dishonor of the contract set out in said
02/08/23 Notice. Each respondent is therefore subject to any and ail of the terms
therein.

_ Respondents have not replied to the Notice: Fault & Opportunity to Cure herein
will be referred to as the 03/05/23 notice.

. Respondent Rakoczy did send a reply, via email communication in violation of
the 02/08/23 notice, through a surrogate Graves not listed on the respondent list,
to the Bill of Particulars on 03/01/23; edited: seven days (7) twenty-one{24) days
outside of the given time allotted but failed to answer the questions. Instead, the
surrogate, Graves, attacked the Bill of Particulars itself and requested the
magistrate to deny it.

. The Bill of Particulars sent is not a motion and is not intended to be denied or
granted, ONLY to be answered by the intended respondent it is addressed to. It
was originally sent on 12/8/22 via email communication certified mail
#70222410000142599613, filed on the court docket, and was given a thirty (30)
day deadline to be answered in order to establish the subject matter jurisdiction
and assertion set forth by the prosecution as it is on the burden of the plaintiff to
prove and establish jurisdiction. No such establishment has been reached.

. The Bill of Particulars reveals exculpatory evidence not privy to the aggrieved
party, unless questioned and/or challenged. Any judgement against or for the Bill
of Particulars is NULL and VOID.

. The date is 05/13/23 and it has been seventy (70) days past the default deadline
and there has been no response whatsoever.

. TERMS OF RESPONSE in the 02/08/23 notice states: As with any administrative
process, respondent may rebut the statements and claims in the Notice herein
by executing a verified response, point-by-point with evidence that is certified to
be true and in affidavit form, correct and complete, to be received by claimant no
later than 5:00 PM on the Effective Date. This term has not been met as
explained above and is well in default.

. INSUFFICIENCY OF RESPONSE in the notice states: The terms “insufficiency of
response” and “insufficient response” are defined to mean a response which is
received by the Effective Date but which fails to specifically rebut, line by line,
any of the established terms, provisions, statements or claims in the Notice, or
offers blanket denials, unsupported rebuttals, inapposite rebuttals such as “not
applicable” or equivalent statements, declarations of counsel and or other third
parties who lack first-hand material factual knowledge, (and | will add: such as
“sovereign citizens” ideology, movements, etc.), or any rebuttal which lacks
verification or an equivalent level of risk or fails to exhibit supportive evidence
certified to be true, correct and complete under full commercial liability.

Respondents agree that any such response is deemed to be legally and lawfully
insufficient to rebut the established statements in the Notice, thereby conveying
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respondent's agreement with all of the terms and provisions of the Notice. None
of the terms were met by any of the respondents.

9. Once jurisdiction is challenged, it must be proven. Basso v. Utah Power & Light
Co . 395 F 2d 906, 910 (10thCir. 1974); Merritt v. Hunter, 170 F2d 739 (10" Cir.
Kansas 1948) ("Where a court failed to observe safeguards, it amounts to denial
of due process of law, court is deprived of jurisdiction.") and the burden of proof
of jurisdiction lies with the one asserting that jurisdiction exists. McNutt v. General
Motors Acceptance Corp. 298 U.S. 178 (1936). No such proof has been
established by any of the respondents first-hand.

10. The contract stated on 02/08/23 that the notices are legal and lawful notice.
Respondents may deny said Notice ONLY by serving the natural man, claimant
James Delisco Beeks, above named, by certified, restricted delivery U.S. Mail,
with return receipt, to the address indicated hereinabove for James Delisco
Beeks, within Fourteen (14) days after the delivery of this Notice. Thereafter, the
fiabilities listed above may not be denied or avoided by respondent named and
implied in this notice. That stipulation was not met, and respondents are now in
default ad the 02/08/23 contract is in full effect.

11.All the facts herein are true, correct, complete and admissible as evidence, and if
called upon as a witness, i will testify to their veracity.

|, James Delisco Beeks, Claimant herein, as the living man do herewith affirm and
declare under my unlimited commercial liability that | am competent and of lawful age to
state the matters set forth hereinabove, and state that the above and foregoing
statements are true, correct, complete, not intended to be misleading, that they
constitute admissible evidence, and are in accordance with my best firsthand
knowledge, understanding and belief.

Dated thig+ day of M La. _in the Year Two Thousand Twenty_] we.

Subscribed and sworn, without prejudice, and with all rights retained, Without
Prejudice UCC 1-308

 

Sui Juris

 

   
 
 

st *t, SARAH ELIZABETH PARRISH
ie iss Commission # HH 050839
“ones Expires October 6, 2024

 

 

 

 

 
